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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

SASO GOLF, INC.                               )
                                              )       Civil Action No. 08 C 1110
                       Plaintiff,             )
                                              )       Judge Blanche M. Manning
v.                                            )
                                              )       Magistrate Judge Nan R. Nolan
NIKE, INC.,                                   )
                                              )       JURY TRIAL DEMANDED
                               Defendant.     )


              SASO GOLF’S MOTION TO PERMIT DISCLOSURE OF
                 NIKE HIGHLY CONFIDENTIAL INFORMATION
            TO SASO GOLF DESIGNATED EXPERT MARK C. MYRHUM

       Plaintiff Saso Golf, Inc. (“Saso Golf”) moves for an order allowing it to disclose

all information designated by Defendant Nike, Inc. (“Nike”) as Confidential or Highly

Confidential to Saso Golf’s designated technical expert Mark C. Myrhum.

       I.         Background

       In this patent litigation between Saso Golf and Nike, the Court entered a

Protective Order on September 11, 2008. See Ex. A, Protective Order. The Protective

Order provides that the parties may designate information as Confidential or Highly

Confidential. Id. at ¶ 2. The Protective Order also provides that prior to disclosure of

any information designated as Highly Confidential to an expert, the receiving party shall

give the producing party ten (10) days notice prior to such disclosure. Id. at ¶ 7(c). The

Protective Order provides the producing party may object to the disclosure of such

information to the proposed expert. Id. The Protective Order makes clear that it is the

burden of the objecting or producing party to “establish[] the basis for the asserted

objection.” Id.
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        On August 6, 2009, Saso Golf notified Nike of its intention to use Mark C.

Myrhum as an expert in this case. See Ex. B, August 6, 2009 letter from J. Ryndak to E.

Maurer. Mr. Myrhum is employed by MCM Golf, Inc., a small golf industry consulting

company based in Hartland, Wisconsin. Id., Curriculum Vitae of Mark Myrhum. Mr.

Myrhum is the owner and president of MCM Golf. Id. Mr. Myrhum has provided

consulting services to golf company original equipment manufacturers in the fields of

golf club research and development and testing, among other things. Id. He is also a

named inventor on several United States patents. In other words, he is well qualified to

act as an expert in this case that relates to infringement of a patent in the golf club field.

        On August 20, 2009, Nike objected to the disclosure of information to Mr.

Myrhum that Nike has designated as Highly Confidential. See Ex. C, August 20, 2009

letter from K. Fink to J. Ryndak. Nike’s stated basis for its objection is the alleged “great

risk of inadvertent use” by Mr. Myrhum of information that Nike has designated as

Highly Confidential. Id. Nike states, “As a golf club designer, industry consultant and

competitor of Nike, disclosure of the three categories of information listed above to Mr.

Myrhum poses a great risk of inadvertent use of the information with concomitant

prejudice to Nike in the marketplace.” See Ex. C (emphasis added).

        At Saso Golf’s request, Ex. D, August 24, 2009 Letter from M. Suri to K. Fink,

Nike stated that it is objecting to the disclosure to Mr. Myrhum of about eight-thousand

(8000) pages of documents Nike produced in this case. See Ex. E, August 26, 2009

Letter from K. Fink to M. Suri. Nike’s total document production to date is under

seventeen-thousand (17,000) pages, so Nike objects to Saso Golf disclosing nearly half of




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Nike’s document production to Saso Golf’s expert. Nike refers to the three categories

which together comprise nearly 8000 pages as a “narrow” limit. See id.

       Despite being specifically requested to do so, Nike was not able to identify any

prior bad experiences with Mr. Myrhum nor any tangible, factual basis for its supposition

of Mr. Myrhum’s purported likely “great risk of inadvertent use” of Nike’s information.

Id. See Ex. C and E.

       II.     Argument

       A. Nike’s Complaint That Mr. Myrhum Is a “Competitor” to Nike is
          Irrelevant and Factually Wrong

       Nike asserts that Mr. Myrhum is a “competitor of Nike” because “he is a named

inventor on at least 6 golf club related patents and he has worked and consulted for

NIKE’s direct competitors in the development of golf club designs.” Ex. E. Nike failed

to identify any specific information to show that Mr. Myrhum personally presents a

“great risk” to Nike, despite being requested to do so by Saso. See Exs. D and E. Thus,

Nike’s sole basis for its objection is that Mr. Myrhum works in the golf industry. Nike

has not met its burden of establishing the basis for its objection.

       Nike overstates what it means to be a “competitor.” Nike’s assertion that Mr.

Myrhum is a “competitor” rests upon the fact that he has consulted for entities who may

be “direct competitors” to Nike. See Ex. E. In fact, Mr. Myrhum does not compete with

Nike. Mr. Myrhum is an individual who is knowledgeable about golf club design and has

assisted other entities in golf club design and manufacturing.

       But even if Mr. Myrhum did compete with Nike, it would not matter. The

protective order entered by this Court protects Nike.




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       In fact, the purpose of the Protective Order is to guard against exactly what Nike

complains about in its August 20, 2009 letter. The Protective Order restricts the use of a

party’s information designated as Confidential or Highly Confidential. See Ex. A at ¶¶ 2,

4, 7, 9, 13, 17, 19 and 20. If Nike learns of any such potential inappropriate use of its

information, Nike can bring an action to promptly squelch such inappropriate use. Mr.

Myrhum has submitted to the jurisdiction of this Court, so such action can take place

quickly and expeditiously. Ex. B, Undertaking of Mark C. Myrhum ¶ 11.

       B. Nike’s Objection of “Inadvertent Use” Has Already Been Ruled by This
          Court to Be Inadequate In a Similar Situation In This Litigation

       Nike previously sought to restrict the practice of law by attorneys representing

Saso Golf who were privy to information Nike designated as Highly Confidential. See

Nike’s Motion for Entry of A Protective Order, filed July 10, 2008, Docket No. 26.

Specifically, Nike demanded the inclusion of a provision in the Protective Order that

would have precluded Saso Golf’s trial counsel, Ryndak & Suri, from prosecuting any

patents in the golf club industry. Id. Nike’s stated objection at that time was the

“inadvertent disclosure” that would result. See id. at 2. The Court expressly rejected

Nike’s position, finding that Nike did not show good cause for restricting Saso Golf’s

trial counsel’s ability to prosecute patents in the golf club industry. See Court Order

dated August 8, 2008 at 3.

       Nike’s current objection to Mr. Myrhum is based on the same previously rejected

objection. Nike states, “As a golf club designer, industry consultant and competitor of

Nike, disclosure of the three categories of information listed above to Mr. Myrhum poses

a great risk of inadvertent use of the information with concomitant prejudice to Nike in

the marketplace.” Ex. C (emphasis added). Tellingly, Nike fails to identify any basis as



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to why Mr. Myrhum specifically might “inadvertently use” such information, as opposed

to any other potential expert in the golf club industry that Saso Golf might choose. See

Exs. C and D. This failure by Nike to substantiate its objection is not surprising, as the

objection of “inadvertent use” is unfounded and baseless, and can be used in any

situation, as Nike has shown by its second use of the objection here.

       C.      Nike’s Objection of the Possibility of “Inadvertent Use” of its
               Information Would Preclude Saso Golf From Using Any Expert In
               This Case

       Nike’s objection of “inadvertent use” is a generic objection not tied to Mr.

Myrhum personally. Nike offers no basis as to why Mr. Myrhum might “inadvertently

use” Nike information, other than that he is in the golf industry. It is equally applicable to

any golf expert Saso Golf might choose. Upholding Nike’s objection on the basis of a

possibility of “inadvertent use” of Nike’s information would preclude Saso Golf from

properly litigating this case. If Nike’s rationale is followed, there would be no suitable

golf expert that Saso Golf could obtain that would satisfy Nike. What makes a person a

suitable expert is their knowledge of the golf industry, and their work in the golf industry.

All potential Saso Golf experts who are suitable in this case would suffer from the same

flaw in Nike’s view, and would be subject to exactly the same baseless objection.

       D. Nike’s Proposal to Have Saso Golf Make Specific Requests For
          Permission From Nike To Disclose Documents To Mr. Myrhum Is
          Untenable

       Nike apparently has determined that the 8000 pages of documents it objects to

Mr. Myrhum viewing are neither “necessary nor relevant” to Saso Golf’s legal strategy at

this stage in the case. See Ex. C and E. Nike has offered to later (perhaps when Nike

finally deems the documents to be necessary or relevant) “consider reasonable requests

[by Saso Golf] to disclose documents to [Mr. Myrhum] on a case by case basis.” See Ex.


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E. Saso Golf rejects this condescending offer by Nike to “consider” Saso Golf’s

“reasonable requests” to show its expert the materials. It is not up to Nike to dictate to

Saso Golf which documents, if any, it may disclose to its expert, and when such timing

may occur. Which documents Saso Golf may disclose to its expert and the timing of

such disclosures is Saso Golf’s protectable legal strategy and work product. It is

untenable to attempt to put Saso Golf in a position of being required to request

permission from its adversary Nike for every document Saso Golf might show to its

experts – and thus disclose to Nike a road map as to what Saso Golf’s legal strategy

might be.

       III.    Conclusion

       Accordingly, Saso Golf respectfully requests an order stating that Saso Golf may

disclose any and all Nike information designated as Confidential and Highly Confidential

to Mark C. Myrhum. A proposed order is attached.

                                                      Respectfully submitted,

                                                      SASO GOLF, INC.

Dated: August 28, 2009                                /s/Mark K. Suri
                                                      By:    One of Its Attorneys

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                            CERTIFICATE OF SERVICE

        I, Mark K. Suri, an attorney, hereby certify that a true and correct copy of the
foregoing document entitled SASO GOLF’S MOTION TO PERMIT DISCLOSURE OF
NIKE HIGHLY CONFIDENTIAL INFORMATION TO SASO GOLF DESIGNATED
EXPERT MARK C. MYRHUM was electronically filed with the Clerk of the Court for
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